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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

NICHOLAS WEIR,                                  )
                                                )
               Plaintiff,                       )   2:21-cv-01206-RJC-PLD
                                                )
        vs.                                     )
                                                )   District Judge Robert J. Colville
UNIVERSITY OF PITTSBURGH, et al.,               )
                                                )   Magistrate Judge Patricia L. Dodge
               Defendants.                      )
                                                )




                                   JUDGMENT ORDER

       FINAL JUDGMENT is hereby entered in Defendants’ favor pursuant to Rule 58 of the

Federal Rules of Civil Procedure. This case has been marked closed.




                                                          BY THE COURT:

                                                          /s/ Robert J. Colville
                                                          Robert J. Colville
                                                          United States District Judge

DATED: November 21, 2022
cc:    All counsel of record
       Nicholas Weir
       4503 Stanton Ave
       Pittsburgh, PA 15201
